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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                           ) Chapter 11
                                                 )
YELLOW CORPORATION, et al., 1                    ) Case No. 23-11069 (CTG)
                                                 ) (Jointly Administered)
                                                 )
                     Debtors.                    ) Related Docket No. 2576
                                                 )
                                                 )

    RESERVATION OF RIGHTS OF TEAMSTERS LOCAL 710 HEALTH & WELFARE
     FUND, TEAMSTERS LOCAL 710 PENSION FUND, CENTRAL PENNSYLVANIA
     TEAMSTERS HEALTH & WELFARE FUND, AND CENTRAL PENNSYLVANIA
    TEAMSTERS PENSION FUND TO DEBTORS’ THIRD OMNIBUS (SUBSTANTIVE)
            OBJECTION TO PROOFS OF CLAIM FOR WARN LIABILITY

         Teamsters Local 710 Health & Welfare Fund, Teamsters Local 710 Pension Fund, Central

Pennsylvania Teamsters Health & Welfare Fund, and Central Pennsylvania Teamsters Pension

Fund Teamsters Local 710 (the “Funds”), by and through their undersigned counsel, file this

Reservation of Rights to Debtors’ Third Omnibus (Substantive) Objection to Proofs of Claim for

Warn Liability (the “Objection”) [D.I. 2576]. In support of this Reservation of Rights, the Funds

respectfully state as follows:

         1.       On March 12, 2024, Debtors filed the Objection that objected to certain proofs of

claims filed by the Funds (the “Claims”) to the extent those proofs of claim included damages for

violations of the WARN Act (“WARN Liability”). The Claims along with the Debtors’ proposed

modified amounts, which exclude amounts related to any WARN Liability were included on

Schedules 1B and 1C (the “Modified Claims”).




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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/case/yellowcorporation/info. The location of Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite
400, Overland Park, Kansas 66211.
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       2.       In the Objection, Debtors contend, inter alia, that the Funds lack standing to bring

claims under the WARN Act. See Objection at ¶¶ 111-13 (“Under APA’s binding authority, the

WARN Act-related claims filed by the 38 pension or health and welfare funds fail for lack of

standing.”).

       3.       Shortly after the filing of the Objection, counsel confirmed with Debtors’ counsel

that the modified amounts listed on Schedules 1B and 1C were the original amounts of the Claims

less the purported WARN Liability portion of the Claims, which the Funds confirmed was

accurate.

       4.       The Funds consent to the Modified Claims listed in Schedules 1B and 1C only to

the extent that the reductions are attributable to the WARN Liability portions of the Claims.

       5.       The Funds consent to the Modified Claims is made without prejudice to, and with

full reservation of the Funds’ rights, claims, defenses, and remedies regarding the Modified

Claims, and without in any way limiting any other rights of the Funds to the Modified Claims.

       6.       Further, this Reservation of Rights is submitted without prejudice to, and with full

reservation of, the Funds’ rights, claims, defenses, and remedies, including the right to supplement

the Reservation of Rights or modify, amend, or withdraw this Reservation of Rights, to seek

discovery, to raise additional objections and to introduce evidence at any hearing related to the

Objection, and without in any way limiting any other rights of the Funds’ to respond to the

Objection, on any grounds, as may be appropriate.




                                  [Remainder of Page Left Blank]




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Dated: March 26, 2024               GELLERT SCALI BUSENKELL &
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                                    and Central Pennsylvania Teamsters Pension Fund
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